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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                        )
 VOTING SYSTEMS, INC., and DOMINION                 )
 VOTING SYSTEMS CORPORATION,                        )
                                                    )
          Plaintiffs,                               )
                                                    )
              v.                                    )   Case No. 1:21-cv-00445-CJN
                                                    )
 MY PILLOW, INC., and MICHAEL J.                    )
 LINDELL,                                           )
                                                    )
        Defendants.                                 )

                                    [PROPOSED] ORDER

       On consideration of the Motion for Status Conference submitted by Defendants My Pillow,

Inc. (“MyPillow”) and Michael J. Lindell (“Lindell”), the Court finds good cause to grant the

Motion.

       For the foregoing reasons, it is hereby ORDERED that the parties are to appear before this

Court for a status conference, at a date and time to be determined by the Court.




DATE: _____________                          _______________________, 2021
                                             CARL J. NICHOLS
                                             United States District Judge




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